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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                            CASE NO. 3:15-MJ-24-CMK
12                                 Plaintiff,             FINDINGS AND ORDER EXTENDING TIME FOR
                                                          PRELIMINARY HEARING PURSUANT TO RULE
13                          v.                            5.1(d) AND EXCLUDING TIME
14   JUAN CARLOS MONTALBO,                                DATE: April 28, 2016
                                                          TIME: 2:00 p.m.
15                                Defendants.             COURT: Hon. Carolyn C. Delaney
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18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on April 27, 2016. The

20 Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,
21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests

24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.
27          THEREFORE, FOR GOOD CAUSE SHOWN:

28          1. The date of the preliminary hearing is extended to May 12, 2016, at 2:00 p.m.


      [PROPOSED] FINDINGS AND ORDER                        1
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 1         2. The time between April 28, 2016, and May 12, 2016, shall be excluded from calculation

 2 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 3         3. Defendant shall appear at that date and time before the Magistrate Judge on duty.

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 5         IT IS SO ORDERED.

 6 Dated: April 28, 2016
                                                   _____________________________________
 7
                                                   CAROLYN K. DELANEY
 8                                                 UNITED STATES MAGISTRATE JUDGE

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      [PROPOSED] FINDINGS AND ORDER                    2
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